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                                       United States District Court
                                           Northern District of Texas

      Karen Mitchell                                                          Fort Worth Division
      Clerk of Court




                                                 Apr 30, 2015



      Clerk of Court
      153rd Judicial District
      401 W. Belknap St.
      Fort Worth, Texas 76102


      RE:      4:15-CV-214-A Alonso, et al. v. Allstate Texas Lloyds

                    Style:   Tarrant County, Texas, 153rd Judicial District, 153-276847-15

      Dear Clerk:

             Enclosed is a certified copy of an Order and/or Judgment remanding the above captioned
      case back to the     153rd Judicial District, Tarrant County, Texas   ,     153-276847-15
      along with a copy of the docket sheet.

              If you have any questions regarding this matter, I may be reached at 817-850-6617 .



                                                                Sincerely,
                                                                Karen Mitchell, Clerk



                                                                By: /s/M. Foley
                                                                        Deputy Clerk


Enclosure



cc:
